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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

MIDDLE DIVISION

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JEAN MAXIME SIMILIEN and JAY A. § .U’ 3 Z
JENKS, on behalf of themselves and all others "* 2 §§ f_"
similarly situated, § <"’ m m
_4 .:'l *_‘ §
Plaintiffs, §§ s __` ~1'°
v. §'~: r.`:f. "`
CIVIL ACTION NO. 1:14-cv-g§192-P`B)S c`)|
PAPA GINO’S, INC., PAPA GINO’S ~ ' :~'l: 01 m

HoLDINGs CoRP. m

Defendants.

 

 

STIPULATION OF DISMISSAL
Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs J can Maxime l
Similien and J ay A. Jenks (“Plaintiffs”) and Defendants Papa Gino’s Inc. and Papa Gino’s
Holdings Corp., hereby stipulate that all of their claims in this action are hereby dismissed With

prejudice, and that the action is dismissed, With each party bearing its own costs, and Plaintiffs

Similien and Jenks waiving all rights of appeal.

 

 

 

STIPULATED AND AGREED:
FOGELMAN & FOGELMAN, LLC MORGA
By: /s/Matthew J. Fozelman By'(

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Counsel for Defendants Papa Gino’s, Inc. and

Papa Gino’s Holdings Corp`
Dated: May 20, 2015

APPRoy, ND so oRDERE THls _Z_?,DAY oF M;\zois:

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Honorablcl Patti B. Sar§

